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                    UNITED STATES BANKRUPTCY COURT
                         DISTRICT OF CONNECTICUT
                            HARTFORD DIVISION
____________________________________
IN RE:                               )  Case No.     21-20687 (JJT)
                                     )
THE NORWICH ROMAN CATHOLIC           )
DIOCESAN CORPORATION,                )  Chapter      11
                                     )
Debtor.                              )  Re: ECF Nos. 1121, 1177
____________________________________)

               SUPPLEMENTAL ORDER TO SHOW CAUSE REGARDING
            THE DISCHARGE OF EPIQ CORPORATE RESTRUCTURING, LLC

       In furtherance of the orders of this Court (ECF Nos. 1121 and 1177, together, the “Show
Cause Orders”) relating to the discharge of Epiq Corporate Restructuring, LLC (“Epiq”) as
Claims and Noticing Agent, Epiq (through a senior officer) and its counsel are ordered and
directed to appear in person before this Court on April 13, 2023 at 11:30 AM to show cause (the
“Show Cause Hearing”) as to the following:
       1.      Whether the Court should order and direct Epiq’s filing of supplemental

disclosures (see, e.g., ECF No. 1185) relating to its breaches of confidentiality herein upon the

docket of this Court and all other bankruptcy courts where it is currently and prospectively

appointed as a claims and noticing agent with responsibility, dominion, or control of confidential

or sealed claims or related documents;

       2.      Whether Epiq should be ordered and directed to disclose any or all fees and/or

expenses for which it was paid by this bankruptcy estate;

       3.      Whether Epiq’s claims for any or all of its unpaid fees and expenses should be

disallowed by this Court;

       4.      Whether Epiq should be ordered and directed to defray the professional fees and

expenses incurred by Omni Agent Solutions (“Omni”), the Debtor, and/or the
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Creditors’ Committee to rectify and address Epiq’s breaches of confidentiality and to transition

noticing and servicing responsibilities in this case to Omni; and

       5.      Whether the Court should initiate further proceedings against Epiq to impose any

monetary or nonmonetary sanctions.

       Within five (5) days of this hearing, Omni, the Debtor, and the Creditors’ Committee

shall each serve and file upon the docket an Affidavit attaching a summary of the fees and

expenses referenced in Paragraph 4 above.

       Further, within two (2) days of this hearing any creditor, party in interest, the Debtor, the

Committee, and the U.S. Trustee may file a response or objection (not to exceed seven (7) pages)

to the issues and concerns posed by this Order to Show Cause. At the Show Cause hearing, all

constituents will have an opportunity to be heard, regardless of whether they have filed a

response or objection with this Court.

       This Order to Show Cause and any Notice of Hearing shall be served by the Clerk of

Court upon Epiq and its legal counsel of record herein by first class mail, with return receipt

requested.

       It is so ORDERED.

       Dated at Hartford, Connecticut this 29th day of March 2023.




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